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6                              UNITED STATES DISTRICT COURT

7                                     DISTRICT OF NEVADA
8
                                                ***
9      PETER MARK COCA,                           Case No. 2:20-cv-01494-KJD-DJA

10                                     Petitioner, ORDER
11           v.
12
       WARDEN BRIAN WILLIAMS, et al.,
13
                                   Respondents.
14

15

16          Petitioner Peter Mark Coca asks the court for an extension to file an opposition to
17    respondents’ motion to dismiss his first-amended 28 U.S.C. § 2254 petition for a writ of
18    habeas corpus. (ECF No. 69.) Good cause appearing,
19          IT IS ORDERED that petitioner’s unopposed motion for extension of time to
20    oppose the motion to dismiss (ECF No. 69) is GRANTED nunc pro tunc. The deadline
21    is extended to March 24, 2025.
22

23          DATED: 24 January 2025.
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                                                      KENT J. DAWSON
26                                                    UNITED STATES DISTRICT JUDGE
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